           Case 1:19-cv-02184-TJK Document 18 Filed 09/12/19 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                    CASE NO.: 19-cv-2184 (TJK)

                       Plaintiff,
v.

FACEBOOK, INC.,

                  Defendant.
_____________________________/


          MOTION FOR ADMISSION OF AMY LYNN PEIKOFF PRO HAC VICE

        Amicus curiae, the Center for the Legalization of Privacy (“the Center”), 1 through

undersigned counsel, move that Amy Lynn Peikoff, an attorney of the State of California, be

admitted pro hac vice for the purpose of representing the Center in the above-styled case. In

support of this motion, the Center submits the attached Declaration of Amy Lynn Peikoff, to

show that she meets the requirements of LCvR 83.2(d).

                                             Respectfully submitted,

                                             The Center for the Legalization of Privacy

                                             by counsel,

                                             /s/ Stephen R. Klein
                                             Stephen R. Klein
                                             Bar No. 177056
                                             STATECRAFT PLLC
                                             1629 K Street NW, Suite 300
                                             Washington, DC 20006
                                             Telephone: (202) 804-6676
                                             steve@statecraftlaw.com


1 The Center has filed a motion for leave to file a brief as amicus curiae contemporaneously with
this filing.
          Case 1:19-cv-02184-TJK Document 18 Filed 09/12/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I CERTIFY that on September 12, 2019, I served the foregoing and attachments through

the Court’s electronic filing system which served a copy on all counsel of record.



                                                     /s/ Stephen Klein
                                                     Stephen R. Klein
